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                     IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

                                    Plaintiff,

v.                                                       Cause No. 12 CR 2686 JB

YUREN ARANDA-DIAZ,

                                    Defendant.

                   DEFENDANT’S SENTENCING MEMORANDUM

       COMES NOW Defendant, Yuren Aranda-Diaz (hereinafter Aranda) by and

through his attorney of record, León Felipe Encinias, and submits his sentencing

memorandum as follows:

                                    Procedural History

       Aranda was indicted on six counts , (1) Alien in Possession of a Firearm, (2)

Felon in Possession of a firearm, (3) Possession with to Distribute Heroin, (4)

Distribution of Heroin, (5) Possessing and Carrying a Firearm During and in Relation to

a Drug Trafficking Crime and (6) Reentry of a Removed Alien. The Indictment was filed

in this case on October 23, 2012.

       On July 24, 2013, Aranda plead guilty to Count (1) Alien in Possession of

Firearm, Count (2) Felon in Possession of a Firearm and Count (6) Reentry of a

Removed Alien.

       On July 25, 2013, Aranda was found guilty by jury trial of Count (3) Possession

with intent to Distribute Heroin, Count (4) Distribution of Heroin and Count (5)



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Possessing an Carrying a Firearm During and in Relation to a Drug Trafficking Crime.

      The Presentence Investigative Report (hereinafter PSR) was disclosed on

October 10, 2013.

                               Sentencing Calculations

      PSR sentencing calculations are as follows:

Group 1 - Counts (1)-(4): Alien in Possession of a Firearm, Felon in Possession of a

Firearm, Possession with Intent to Distribute Heroin and Distribution of Heroin:

      Basic Offense Level                                                  18

      Adjustments                                                           0

      Adjusted Offense Level:                                              18

Group 2 - Count (6): Reentry of a Removed Alien:

      Basic Level                                                           8

      Specific Offense Characteristics: Aggravated Felony                   8

      Adjusted Offense Level                                               16

Multiple Count Adjustment:

      Group 1:

             Adjusted Offense Level      18

             Units                       1.0

      Group 2:

             Adjusted Offense level      16

             Units                       1.0




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       Total Units                                                          2

       Greater of the Offense levels:                                      18

       Combined Offense Level                                              20

       Acceptance of Responsibility                                         0

Total Offense Level                                                        20

                             Defendant’s Criminal History

      The following is Aranda’ Criminal History point calculation:

      Possession of Controlled Substance 1998                              3

      Resting /Evading /Obstructing Officer 2005                           2

      Reentry of Removed Alien 2006                                        2

      Felon in Possession of Firearm 2008                                  3

      Commission of offense while under crim. sent.                        2

Total Criminal History points                                              12

      Twelve criminal history points results in category V Criminal History Category

placement, Category V and offense level 20 results in a guideline range of 63 to 78

months.

      Count five which carries a minimum of 5 years and maximum of life and must be

imposed consecutive to any other count.



                              Historical Considerations

      Aranda is a 39 year old male born in Mexico and living in the United States since

age two. He speaks Both Spanish and English but does not read or write in either



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English or Spanish. He was a Lawful Permanent Resident until his LPR status was

revoked after the controlled substance conviction in 1999 and he was deported in 2000.

      Aranda’s parents and siblings all reside lawfully in the United States. Arands’s

father is Armando Aranda and his mother is Maria Diaz. Both are 75 years old and both

reside in Albuquerque, New Mexico. His father suffered from a heart attack in 2007 but

his parents are otherwise in good health. All of Aranda’s siblings reside in Albuquerque

except for one brother who resides in Denver, Colorado. All are employed and all are in

good heath.

      Aranda has been married to Stephanie Soza for 16 years and the couple has

three children, Josephine Aranda, age 20, Natalie Aranda , age 17 and Angel Aranda,

age 11. His children reside with their mother and are reported to be in good health.

      Aranda has be diagnosed with adenoiditis, arm pain, skin infection, lesions

underneath tongue (Sqamous cell carcinoma-form of skin cancer), hepatitis C virus,

opioid withdrawal and tendinitis.

      Aranda has a history of illegal drug use dating back to when he was twelve years

old. He reports having attended a substance abuse program at Turquoise Lodge from

2002 to 2003. He also reports having been shot and stabbed on two occasions resulting

in hospitalization. He was also hospitalized for a collapsed lung due to drug use.

      Aranda has a serious drug use problem having been addicted most of his life. He

is interested in substance abuse counseling in the Bureau of Prisons.

       Aranda attended Albuquerque Public School until the ninth grade when he

dropped out. Aranda was in special education due to a learning disability for all of the

time he was in school. He has no post high school education or training.

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       Aranda worked for a construction company for a little over one years and was self

employed doing construction work off and on for nine years. His employment history

shows a person with sporadic employment and no specialized training.

       Aranda returned to the United States after having been deported. It is no mystery

as to why he returned. All of his immediate family members live in the United States. He

came to the United States at two years of age. He attended school from the first grade

to the ninth grade. He has a wife and three children who are United States Citizens. He

resided continuously in the United States twenty five years before being deported. He

lived outside f the United States in Mexico for less than two years. All of his family and

cultural ties are in the United States.

       Aranda realizes that he sold have done things different in is life. He choices have

resulted in his incarceration, the loss of his family while incarcerated and after being

deported. The only way that Aranda can reunite with his family after completing his

sentence in this case is for his family to relocate to Mexico. Given the economic situation

and the danger posed by the drug cartels in Mexico it is unlikely that his family would

even consider moving to Mexico.

       Most of Aranda’s problems stem from his drug use. As noted above he has been

addicted almost all of his life. He sought treatment at Turquoise Lodge in Albuquerque

and was on Methadone while attempting to overcome his addiction but obviously he was

not successful. We don’t and can never know if more or different treatment could have

changed Aranda’s history but I think we can all agree that there is a woeful lack of

resources for a person in Aranda’s position. Additionally, Aranda is illiterate and has very

little education.

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       We can’t say that any one of his problems necessarily leads to any other problem

but we can say the lack of resources did not help his situation. It can be and probably

will be argued that others in similar situations have been able to lead more productive

and lawful lives. However, none of us can say with certainly that if we were in Aranda’s

shoes our outcome would have been different.

       The Court in determining the particular sentence to impose shall consider the

nature and circumstances of the offense and the history and characteristics of the

defendant. 18 U.S.C. § 3553(a)(1). The history and circumstances of this case do not

warrant the severe sentence contemplated in Guideline calculations. A downward

variance is warranted based on the history and characteristics of this defendant.

                                        Objections

       The following are Aranda’s objections to the PSR:

       On Page 10, Paragraph 37 of the PSR, Aranda is given no reduction for

acceptance of responsibility. While it is correct that Aranda went to trial on counts 3,

4and 5, he did, as noted, plead guilty to three other counts.

       Aranda clearly demonstrated acceptance of responsibility as to counts 1, 2 and 6.

He admitted the conduct comprising the offenses. He did not falsely deny any additional

Relevant Conduct.

                                  Addition Considerations

       Aranda did not participate in sentencing preparation as he believes that counsel

is not acting in his best interest.1

        1
        . Aranda indicated that he would file a motion to withdraw counsel which should explain
his concerns.

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                                     Conclusion

       Aranda asks that the Court grant his objection as noted above and vary

downward based on the argument herein.

                                 Respectfully submitted,

                                        /S/
                                  León Felipe Encinias
                                  Attorney for Defendant
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THIS IS TO CERTIFY THAT A TRUE AND CORRECT COPY OF THE FOREGOING PLEADING W AS
SERVED UPON THE OFFICE OF THE UNITED STATES ATTORNEY by ELECTRONIC FILING ON
THIS 10th DAY OF February   , 2014.

           /S/
León Felipe Encinias, Esq.
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